Case 1:19-cr-OOOO7-.]AW Document 45 Filed 04/17/19 Page 1 of 1 Page|D #: 87

Amended Svnopsis __

\i \q- Cr»cooo“r~ TSRU\)

 

 

 

 

 

 

 

 

 

Name: Douglas Goi'don
Address: Mattawamlceag, Maifi'e?€ cf § _! ; j ‘__§ i:
p_(City & State Only) _ j 7 7 _
Year of Birth and Age: 1967; 51 years of age
Violations: Copyright Infringement, 17 U.S.C. § 506(a)(l)(A),
18 U.S.C. §§ 2319(a), 2319(0)(1) and 2 [Counts 1 & 2]
7 Mail Fraud, 18 U.S.C. § 1341 and 2 [Count 3]
Penalties: Prison: Counts 1 & 2:
-~ Not more than 3 Years, 18 U.S.C. § 2319(c)(1)
Count 3: Not more than 20 Years, 18 U.S.C. § 1341
Fine: Counts 1 _ 3:
_ -- Not more than $250,000, 18 U.S.C. § 3§_7_’_1(b)(3)
Supervised Release: Counts 1 ~ 3:

Not more than 3 Years, 18 U.S.C. § 3583(b)(2)

 

Maximnm Term of Imprisonment for
__ Violation of Supervised Release:

Counts l _ 31
Not More than 2 Years, 18 U_.S.C. § 3583(_¢)7(3)

 

Maximum Add’l Term of Supervised
Release for Violation of Supervised
Release:

Counts 1 ~ 3: Three years (maximum original term of
supervised release) less any term of imprisonment that
Was imposed upon revocation of supervised release.

18 U.S.C. § 3583(h)

 

 

 

Defendant’s Attorney:

Stephen C. Smith, Esq.

 

 

__Primary Investigative Agency and ease
Agent Name:

Homeland Seeurity lnvestigations_
Loren D. Threshei', Special Agent

 

 

Detention Status:

Order Setting -Conditions of Release

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

M N/A
Foreign Consular Notification Provided: N/A
¢Eunty: Penobscot
AUSA: J ames M. Moore j
Gui_delines apply? U.S.S.G. § 2B5.3(a)
Vietim Case: jYes. j j
Corporate Victims Owed Restitution? Yes. n
Assessments: Counts 1 a 3:

$100_00 per emma 18 U.s.C. § 3013(3)(2)(A)

 

 

 

